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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF OKLAHOMA

                            Before the Honorable Ronald A. White
                       United States Courthouse, Courtroom 2, Room 224
                                     Muskogee, Oklahoma

                   ORDER FOR CRIMINAL PRETRIAL CONFERENCE

 IT IS ORDERED:

                          Prior to the Criminal Pretrial Conference:

             Pleadings to be FILED by TUESDAY, 10/10/2023, at 12:00 NOON:

                  Motion for Continuance OR Notice of Intent to Plead
                  Requested Jury Instructions, Verdict Forms and Trial Briefs
                  Joint Notice of Submission of Electronic Media, containing the description
                   of the media, to include any separate segregated portions, with any
                   objections thereto. Media not timely filed and submitted will be disallowed.
                  Notices regarding: (A) Expert Witnesses; (B) Rule 415; and (C) Rule 404(b)
                   Daubert Motions, if any, filed by Tuesday, 10/10/2023 at 12:00 NOON.

       Parties are to CONFER and SUBMIT to Chambers by TUESDAY, 10/10/2023:

                  All media for in-camera review with filed Notice attached
                  Agreed Trial Stipulations
                  List of Agreed Pre-Admitted Exhibits.

All discovery is to be COMPLETED. All pending Motions will be heard at the Pretrial
Conference. Attorneys who will conduct the trial are required to attend the conference
unless a substitute attorney is authorized by the Court. Counsel shall consult with their client
regarding the possibility of a Magistrate Judge handling jury selection. If applicable, Counsel are
directed to provide the Court with a signed Consent form at the PTC. (Consent Form is
located on the Court’s website)

            CASE IS EXPECTED TO BE READY FOR TRIAL AT THE PRETRIAL
              CONFERENCE, where a specific date for trial will be discussed.

                              THURSDAY, OCTOBER 19, 2023

 9:00 AM

 CR-22-118-RAW               United States of America v. Ta-Ron Eugene Fultz
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CR-22-156-RAW          United States of America v. John Arthur Dennis, Jr.

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CR-23-01-RAW           United States of America v. Austin Isaac Furr

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CR-23-37-01-RAW        United States of America v. Teon Raynard Robbins

CR-23-37-02-RAW        United States of America v. Antwon Marquise Williams

10:15 AM

CR-23-39-RAW           United States of America v. Cecil Browning Higginbotham

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CR-23-41-RAW           United States of America v. Cory Donnell Bryant

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CR-23-66-RAW           United States of America v. Courtnei Quincyion Wells

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CR-23-75-RAW           United States of America v. Patrick Timothy Kelley

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CR-23-100-RAW         United States of America v. Terry Joseph Dunnavent

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CR-23-103-RAW          United States of America v. Shyla Faye Pittman

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CR-23-110-RAW          United States of America v. Billy Lee Murphy
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CR-23-113-01-RAW       United States of America v. Jerry Eugene Teafatiller

CR-23-113-02-RAW       United States of America v. Doyle Lee LaFavor

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CR-23-117-RAW          United States of America v. Brian Wayne Davis

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CR-23-119-RAW          United States of America v. Bryon Keith Spencer

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CR-23-124-RAW          United States of America v. Michael Traig Pride

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CR-23-135-RAW          United States of America v. James Tyler Garbey

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CR-23-142-RAW          United States of America v. Jesse Lee Fish

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CR-23-147-RAW          United States of America v. Nathan Kelly Graham

CR-23-155-RAW          United States of America v. Nathan Kelly Graham

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CR-23-149-RAW          United States of America v. Michael Wayne Green

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CR-23-151-RAW          United States of America v. David Henry Vick, Jr.

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CR-23-153-RAW            United States of America v. Brian Keith Bowen

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CR-23-154-RAW            United States of America v. Ricky Alan McFarland

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CR-23-156-RAW            United States of America v. Jacob Graves

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CR-23-161-RAW            United States of America v. Kristy Zapata-Gutierrez

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CR-23-162-RAW            United States of America v. Ryan John Capps



    DATED this 22nd day of September, 2023.
